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                                                                                       MAY 2 5 2018
                            IN THE UNITED STATES DISTRICT COURT  .ulr~n~Mar
                                EASTERN DISTRICT OF ARKANSAS ~A~~m~K, CLERK
                                     WESTERN DIVISION          y            DEP CLERK




FRANCES BLOHM                                                                 PLAINTIFF

v.
DIRT CHEAP ARKANSAS, LLC.                                                     DEFENDANT


                                           COMPLAINT

        Plaintiff, for her complaint, states:

        1.      Plaintiff is a citizen and resident of Arkansas.

        2.      Defendant is a Deleware corporation with its principal place of business in

Mississippi.

        3.      The amount in controversy, exclusive of interest and costs, exceeds $75,000.00.

        4.      On November 9, 2017, plaintiff was shopping at department store in Pulaski

County, Arkansas, owned by the defendant.

        5.      An employee of the defendant was moving merchandise on a pallet jack. At all

relevant times, that employee was acting in the course and scope of his employment.

        6.      The employee operating the pallet jack ran the pallet into the plaintiff causing her

to fall and hit her head on the floor.

        7.      The employee of the defendant was negligent in failing to barricade the area in

which he was operating a pallet jack, in failing to use a spotter while operating the pallet jack,

and in failing to keep a look out for business invitees while operating the pallet jack.


                                                             This case assigned to District Judge    \v\ O~
                                                  -1-        and to Magistrate Judgei-+::its.i.:-0,:~~~-----
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       8.      As a proximate result of the negligence of defendant's employee, plaintiff has

sustained injuries, has incurred medical bills and will do so in the future, has suffered pain and

mental anguish and will do so in the future, has scars and disfigurement, and has sustained a

permanent injury.

       9.      Plaintiff demands a trial by jury.

       Wherefore, plaintiff prays judgment against defendant in an amount in excess of

$75,000.00, for her costs and all other proper relief.

                                       Respectfully submitted,

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